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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No. 20-cv-03691-RBJ-SKC

  MANUEL ALEJANDRO CAMACHO,

         Plaintiff,

  v.

  CORDOVA, Deputy;
  BUEN, Deputy;
  DIBIASI, Deputy;
  SMITH, Captain; and
  CLEAR CREEK COUNTY SHERIFF’S OFFICE,

         Defendants.


                                   NOTICE OF SETTLEMENT


         Defendants, JACOB CORDOVA, ANDREW BUEN, NICK DIBIASE, and JEFF

  SMITH (“Defendants”), 1 by and through their attorneys, SGR, LLC, hereby submit the following

  Notice of Settlement:

         1.      The parties have reached a resolution regarding the claims in this matter.

         2.      The parties have executed a Settlement Agreement and Release, and upon payment

  of the settlement proceeds to the Plaintiff, the parties will promptly file a Stipulated Motion for




  1
    Defendants respectfully note that the Court previously dismissed Plaintiff’s claim against the
  Clear Creek County Sheriff’s Office, as well as Plaintiff’s claims against the Defendant Deputies
  in their official capacities. [Dkt. 62].
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  Dismissal with Prejudice. The parties anticipate that this filing will be completed no later than

  January 20, 2023. 2

         3.      Currently pending before the Court is Defendants’ Motion for Summary Judgment.

  [Dkt. 117]. Plaintiff’s Response is currently due on December 19, 2022. [See Dkt. 122].

         4.      Upon filing of this Notice of Settlement, no further action need be taken by the

  parties or the Court with respect to the pending Motion for Summary Judgment.


                                                    Respectfully submitted,


                                                    /s/ Eric M. Ziporin
                                                    Eric M. Ziporin


                                                    /s/ Justin A. Twardowski
                                                    Justin A. Twardowski
                                                    SGR, LLC
                                                    3900 East Mexico Avenue, Suite 700
                                                    Denver, CO 80210
                                                    Telephone: (303) 320-0509
                                                    Facsimile: (303) 320-0210

                                                    Attorneys for Defendants Cordova, Buen,
                                                    Dibiasi, and Clear Creek County Sheriff’s
                                                    Office




  2
   Defendants note that Plaintiff’s mandatory release date is estimated as being December 28, 2022.
  Defendants anticipate some delay as Plaintiff transitions away from incarceration and gets situated.


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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 13th day of December, 2022, I electronically filed a
  true and correct copy of the above and foregoing NOTICE OF SETTLEMENT with the Clerk
  of Court using the CM/ECF system. I further certify that I emailed and mailed said document to
  the following non-CM/ECF participant by U.S. Mail, first class postage prepaid:

          Manuel A. Camacho
          5904 Oneida Street
          Commerce City, CO 80022
          Email: Mannylove303@gmail.com



                                                 s/ Barbara A. Ortell
                                                 Barbara A. Ortell
                                                 Legal Secretary




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